                       Case 9:17-cr-00009-DLC Document 125 Filed 10/20/17 Page 1 of 7
AO 245B (Rev. 09/17)   Judgment in a Criminal Case
                        Sheet I



                                          UNITED STATES DISTRICT COURT                                                      ocr,p
                                                                                                                                     0 ;9
                                                               District of Montana                                        ~ l.J.s        11
                                                                         )                            '"' &.90 o,~ Coiltr.
                UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL cl3Pi~:fen:
                                                                         )                                                             ·~
                                   v.                                    )
                                                                         )
         IRVING AMADEUS HERNANDEZ-LOPEZ                                          Case Number: CR 17-9-M-DLC-2
                                                                         )
                                                                         )       USM Number: 48336-086
                                                                         )
                                                                         )        Dwight Schulte
                                                                         )       Defendant's Attorney
THE DEFENDANT:
liZI pleaded guilty to count(s)         3 of the indictment

D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea ofnot guilty.

The defendant is adjudicated guilty of these offenses:




 21 U.S.C. § 841(b)(1)(B)



       The defendant is sentenced as provided in pages 2 through        __7___ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
liZI Count(s)     1 and 10 of the indictment             Dis     liZI are dismissed on the motion of the United States.
                -------------
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of an)' change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments im  d by this judgment are fully paid. Ifordered to pay restitution,
the defenaant must notify the court and United States attorney of material c n es in econormc circumstances.




                                                                         Dana L. Christensen, Chief Judge
                                                                        Name and Title of Judge


                                                                         10/20/2017
                                                                        Date
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AO 245B (Rev. 09/17) Judgment in Criminal Case
                     Sheet 2 - Imprisonment

                                                                                                     Judgment -   Page   -=2- of   7
 DEFENDANT: IRVING AMADEUS HERNANDEZ-LOPEZ
 CASE NUMBER: CR 17-9-M-DLC-2

                                                            IMPRISONMENT

            The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
 term of:
  60 months.




     liZI The court makes the following recommendations to the Bureau of Prisons:
  (1) Defendant shall participate in the Bureau of Prisons' 500 hour Residential Drug Treatment Program (RDAP), if eligible.
  (2) Upon release, Defendant shall be remanded to the Bureau of Immigration and Customs Enforcement.


     liZI The defendant is remanded to the custody of the United States Marshal.

     D The defendant shall surrender to the United States Marshal for this district:
            D at                                               D p.m.      on

            D as notified by the United States Marshal.

     D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            D before 2 p.m. on
            D as notified by the United States Marshal.
            D as notified by the Probation or Pretrial Services Office.


                                                                  RETURN
 I have executed this judgment as follows:




            Defendant delivered on                                                     to

 at - - - - - - - - - - - - - - - , with a certified copy of this judgment.



                                                                                                  UNITED STATES MARSHAL



                                                                          By -~~~~-=-====-=======-=~=-=-:-:-:=-==-=~~~~~
                                                                                              DEPUTY UNITED STATES MARSHAL
                      Case 9:17-cr-00009-DLC Document 125 Filed 10/20/17 Page 3 of 7

AO 245B (Rev. 09/17) Judgment in a Criminal Case
                     Sheet 3 - Supervised Release
                                                                                                          Judgment-Page ____1__ of     1
DEFENDANT: IRVING AMADEUS HERNANDEZ-LOPEZ
CASE NUMBER: CR 17-9-M-DLC-2
                                                       SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:
 5 years. The term of supervised release will be "inactive" while the Defendant is not residing in the United States. If the
 Defendant returns to the United States, legally or illegally, within 72 hours of return, the Defendant is to report in person to
 the nearest United States Probation Office and shall be subject to active supervised release supervision.




                                                    MANDATORY CONDITIONS

1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
            D The above drug testing condition is suspended, based on the court's determination that you
                pose a low risk of future substance abuse. (check if applicable)
4.    D You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
           restitution. (check if applicable)
5.     It!' You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.     D You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as
           directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
           reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.     0 You must participate in an approved program for domestic violence. (check if applicable)




You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B (Rev. 09/17) Judgment in a Criminal Case
                      Sheet 3A - Supervised Release
                                                                                                 Judgment-Page         4                   7
                                                                                                                                0f - - - - - -
DEFENDANT: IRVING AMADEUS HERNANDEZ-LOPEZ
CASE NUMBER: CR 17-9-M-DLC-2

                                       STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.     You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
       release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
       frame.
2.     After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
       when you must report to the probation officer, and you must report to the probation officer as instructed.
3.     You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
       court or the probation officer.
4.     You must answer truthfully the questions asked by your probation officer.
5.     You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
       arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
       the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
       hours of becoming aware of a change or expected change.
6.     You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
       take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.     You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
       doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
       you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
       responsibilities), you must notify the probation officer at least I 0 days before the change. If notifying the probation officer at least 10
       days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
       becoming aware of a change or expected change.
8.     You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
       convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
       probation officer.
9.     If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.    You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
       designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
l l.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
       first getting the permission of the court.
12.    If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
       require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
       person and confirm that you have notified the person about the risk.
13.    You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                      Date _ _ _ _ _ _ _ _ _ _ _~
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AO 245B(Rev. 09/17) Judgment in a Criminal Case
                    Sheet 3D - Supervised Release
                                                                                         Judgment-Page   _____i___ of    7
DEFENDANT: IRVING AMADEUS HERNANDEZ-LOPEZ
CASE NUMBER: CR 17-9-M-DLC-2

                                       SPECIAL CONDITIONS OF SUPERVISION
1. The defendant shall submit their person, residence, place of employment, vehicles, and papers, to a search, with or
without a warrant by any probation officer based on reasonable suspicion of contraband or evidence in violation of a
condition of release. Failure to submit to search may be grounds for revocation. The defendant shall warn any other
occupants that the premises may be subject to searches pursuant to this condition. The defendant shall allow seizure of
suspected contraband for further examination.

2. The defendant shall participate in and successfully complete a program of substance abuse treatment as approved by
the United States Probation Office, until the defendant is released from the program by the probation officer. The
defendant is to pay part or all of the cost of this treatment, as directed by the United States Probation Office.

3. The defendant shall abstain from the consumption of alcohol and shall not enter establishments where alcohol is the
primary item of sale.

4. The defendant shall participate in substance abuse testing, to include not more than 365 urinalysis tests, not more than
365 breathalyzer tests, and not more than 36 sweat patch applications annually during the period of supervision. The
defendant shall pay all or part of the costs of testing as directed by the United States Probation Office.

5. The defendant shall not possess, ingest or inhale any toxic substances such as, but not limited to, synthetic marijuana
and/or synthetic stimulants that are not manufactured for human consumption, for the purpose of altering their mental or
physical state.

6. The defendant shall not purchase, possess, use, distribute or administer marijuana, or obtain or possess a medical
marijuana card or prescription.
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AO 245B (Rev. 09/17)   Judgment in a Criminal Case
                       Sheet 5 - Criminal Monetary Penalties
                                                                                                       Judgment - Page       6   of        7
 DEFENDANT: IRVING AMADEUS HERNANDEZ-LOPEZ
 CASE NUMBER: CR 17-9-M-DLC-2
                                               CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                     Assessment                      JVTA Assessment*                                          Restitution
 TOTALS            $ 100.00                      $                             $                           $


 D The determination of restitution is deferred until - - - - . An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
      before the United States is paid.

                                                                     Total Loss**




 TOTALS                               s ~~~~~~_o_.o_o_                       s~~~~~~~o_.o_o_


 D     Restitution amount ordered pursuant to plea agreement $

 D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(±). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 D     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       D the interest requirement is waived for the             D fine    D restitution.
       D the interest requirement for the            D   fine    D   restitution is modified as follows:

*Justice for Victims of Trafficking Act of2015, Pub. L. No. 114-22.
** Findings for the total amount oflosses are required under Chapters l09A, l IO, l IOA, and l l3A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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AO 245B (Rev. 09/17) Judgment in a Criminal Case
                      Sheet 6 - Schedule of Payments
                                                                                                            Judgment -   Page    7      of         7
DEFENDANT: IRVING AMADEUS HERNANDEZ-LOPEZ
CASE NUMBER: CR 17-9-M-DLC-2

                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A      ~    Lump sum payment of$          100.00               due immediately, balance due

            D      not later than                                  , or
            liZI   in accordance with D      c,    D    D,    D     E,or      liZI F below; or
B      D    Payment to begin immediately (may be combined with             DC,          DD, or       0 F below); or
C      D    Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                           (e.g., months or years), to commence                    (e.g., 30 or 60 days) after the date of this judgment; or

D      D    Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                                                                                                          -------
                           (e.g., months or years), to commence      _ _ _ _ (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

E      D    Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F      ~    Special instructions regarding the payment of criminal monetary penalties:

             Criminal monetary penalty payments are due during imprisonment at the rate of not less than $25 per quarter, and
             payment shall be through the Bureau of Prisons' Inmate Financial Responsibility Program. Criminal monetary
             payments shall be made to the Clerk of Court, United States District Court, P.O. Box 8537, Missoula, MT 59807.



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment ofcriminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



D      Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.




D      The defendant shall pay the cost of prosecution.

D      The defendant shall pay the following court cost(s):

l!tJ   The defendant shall forfeit the defendant's interest in the following property to the United States:
        A Final Order of Forfeiture was filed August 30, 2017.


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) NT A assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
